          Case 2:24-cv-07009-CBM-MAA             Document 14 Filed 11/08/24                            Page 1 of 1 Page ID
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name and Address)
                                                        #:76
                                                           TELEPHONE NUMBER                                  FOR COURT USE ONLY
                                                                            (323) 452-5600
  SRIPLAW
  8730 Wilshire Boulevard, Suite 350
  Beverly Hills, CA 90211
  ATTORNEY FOR Plaintiff

  First Street Federal Courthouse Los Angeles
  350 W 1st Street
  Los Angeles, CA 90012

  PLAINTIFF/PETITIONER:VPR Brands, LP

  DEFENDANT/RESPONDENT: Flumgio Technology Inc

  DATE:                    TIME:                   DEP./DIV.                                             CASE NUMBER:
                                                                                                         2:24-cv-07009

                                        Declaration of Service                                           Ref. No. or File No:
                                                                                                         26688


                                                        United States District Court


I certify that I am authorized to serve the Summons and Complaint in the within action pursuant to F.R.Civ.P 4(c) and that I served the:
COMPLAINT FOR PATENT INFRINGEMENT (INJUNCTIVE RELIEF DEMANDED); SUMMONS IN A CIVIL ACTION; ORDER GRANTING
ALTERNATE SERVICE OF PROCESS [12]

On: FLUMGIO TECHNOLOGY INC

I served the summons at:

1500 11th St Sacramento, CA 95814

On: 10/28/2024               Time: 12:23 PM


In the above mentioned action by personally serving to and leaving with
Liliana Singleton, Deputy Secretary of State - Designated to Receive Service of Process at California Secretary of State
($50 Statutory Fee Payable to California Secretary of State PAID at the time of service)


Person attempting service:

  a. Name: Katrina Williams
  b. Address: 1801 Parkcourt Place Suite F100, Santa Ana, CA 92701
  c. Telephone number: 714-973-9202
  d. The fee for this service was: 99.50
  e. I am an independent contractor:


I declare under penalty of perjury under the laws of the United States of America that the foregoing information contained in the return of
service and statement of fees is true and correct.




                                                                      Katrina William s                       Date: 11/01/2024



                                                               De claration of Se rvice                                     Invoice #: 10653000
